Case 5:16-cv-00357-WFJ-PRL Document8 Filed 06/30/16 Page 1of 16 PagelD 65

UNITED STATES DISTRICT COURT
MIDDLE DIVISION OF FLORIDA

OCALA DIVISION ? LEGAL MAIL
PROVIDED TO
FLORIDA STATE PRISON
DONALD OTIS WILLIAMS, DATE {¢-27.o FOR MAILING.
Petitioner, INMATES INITIALS Dow)
V. CASE NO: 53 ile-cve 341-6c- (OPRL
SECRETARY DEPARTMENT 38 f.
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Respondent. SS ~
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MOTION FOR COURT CONSIDERATION a 0

COMES NOW Petitioner in the above-styled cause and moves the Honorable
Court to accept the accompanied Petition for Habeas Corpus reflecting a filing date
within the boundaries and acceptations of AEDPA. Support of the respectfully submitted
supplication is as follows:

1_ Petitioner's filing fee is being sent via Petitioner's account in compliance with
local Rule 4.14(b) by special withdrawal form DC2-304 (Please note the enclosed) The
filing fee should be sent directly from Petitioner's account to the court's clerk. The date
on the withdrawal form indicates May 18, 2016. Note financial record. (Exhibit-1)

_2_ Petitioner pleads to the court to consider the below
a) On November 21, 2013 Petitioner was adjudicated guilty and sentenced
contrary to Florida Rules of Criminal Procedure 3.111(d)(5) which is
unconstitutional due to Petitioner wasn't allowed counsel at sentencing.

Numerous other errors occurred during the violation of probation hearing
ee

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that amount to plain errors as well.

b) On November 21, 2013 following the unlawful sentencing hearing trial

court appointed public defender as appellate counsel to represent Petitioner

during direct appeal. (Exhibit-1)

c) On December 12, 2013 the District Court of Appeal Fifth Judicial

District (5 DCA) acknowledge new case number: 5D13-4404. (Exhibit-1)

d) Appellate counsel filed on Anders brief on June 23, 2014 followed by 5"
DCA mandate on February 10, 2015.

e) Petitioner requested trial court to grant him access to the court per

Florida Rules of Criminal Procedure Rule 3.850 on March 13, 2015.

f) On March 25, 2015 trial court granted Petitioner the right to file pursuant

to Rule 3.850 (Exhibit-2)

g) In December 2015 following a campaign of pleadings to the State and

Lake County Florida Sheriff for Petitioner's eyeglasses Petitioner pleaded to

trial court to direct Lake County Sheriff to provide Petitioner with his

prescription eyeglasses. (As of the present day the order has not been

adhered to despite reintroducing the matter before the court) The order was

rendered in January 2016 for Petitioner.

h) In January 2015 numerous motions for transcripts, public defender file of

Petitioner were submitted to compel the parties to relinquish evidence to be

used in postconviction. Trial court denied without prejudice Petitioner's

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Case 5:16-cv-00357-WFJ-PRL Document8 Filed 06/30/16 Page 3 of 16 PagelD 67

pleading for public defender file, denied deposition transcript and did not
rule on a request for proceeding transcripts where State acknowledged
public defender committed perjury while representing Petitioner.

i) In February 3, 2016 Petitioner filed Florida Rules of Criminal Procedure
Rule 3.850 motions and subsequently supplementing the pleadings on
March 10, 2016 and March 14, 2016 with extensive exhibits and
authoritative citations.

j) On March 30, 2016 trial court denied Petitioner's motions Petitioner
received the order on April 7, 2016 and ultimately filed a timely notice of
appeal.

k) On May 4, 2016 the 5" DCA constructed a letter to Petitioner. The
postmark on the letter's envelope reflects May 13, 2016 which Petitioner
received on May 18, 2016. The 5" DCA letter informed Petition he was
prohibited from filing with the court due to the court's prohibition order in
respect to case no: 5D05-4254. Ten years ago Petitioner filed a petition for
mandamus in an attempt to prevent the Sheriff from destroying Petitioner's
medical records. Petitioner was ordered to show cause why the action
should not be dismissed whereas he timely filed a response in March 2006
with complete respect to the court. As the court can see Petitioner was
allowed access to the 5" DCA on: April 7, 2014; May 1, 2014: July 17,

2014: July 21, 2014: July 28, 2014: August 6, 2014: August 14, 2014:
Case 5:16-cv-00357-WFJ-PRL Document8 Filed 06/30/16 Page 4 of 16 PagelD 68

August 18, 2014: August 28, 2014: September 11, 2014: September 16,
2014: October 2, 2014: October 20, 2014: October 27, 2014: November 17,
2014: December 22, 2014 during the direct appeal case 5D13-4404. Why
allow Petitioner to file with the 5" DCA — During direct appeal then without
cause or reason reinstitute a prohibition regarding an appeal concerning the
same conviction and sentence? Its a complete mystery how the court
banned Petitioner access to the court on August 18, 2006 but allowed him
and indeed ordered him to file in direct appeal case 5D 13-4404 but turn
around and deny him the right to appeal the very judgment and sentence it
not long before had jurisdiction over. And to further complicate matters by
placing Petitioner on the edge of AEDPA time limit is the action of the
appellate court in allowing Petitioner to file with the court in direct appeal
action but not in postconviction trial court appeal procedure nor pursue
ineffective assistance of appellate counsel which has to be filed with the 5"
DCA and also trial court's order dated March 30, 2016 is inundated with
over one-dozen instances of appellate counsel deficiencies.

1) As of this date May 19, 2016 Petitioner had done every possible exercise
he was capable of regarding challenging his illegal sentence and conviction.
Petitioner has battled through PTSD, bipolar mania, frontal lobe dementia
from numerous skull fractures, multiple seizures all while divested of his

eyeglasses and legal assistance. Petitioner efforts should be considered and
Case 5:16-cv-00357-WFJ-PRL Document8 Filed 06/30/16 Page 5 of 16 PagelD 69

reflected as exceptions to AEDPA laches.
3_Petitioner moves the Honorable Court to allow Petitioner to continue with the

petition due to the above mentioned.

Respectfully Submitted
/s/ Q

Donald O. Williams
D.O.C.# U13479
Florida State Prison
P.O. Box 800

Raiford, FL 32083

CERTIFICATE OF SERVICE
I HEREBY CERTIFY, that a true and correct copy of the foregoing motion has
been placed in the hands of prison officials at Florida State Prison furnished for mailing
via U.S. Mail to: Fifth Judicial Circuit Court, Clerk of Court, 550 W. Main Street,

Tavares, Florida 32778; State Attorney, P.O. Box 7800, Tavares, Florida 32778-7800 on

Sune

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this ~%* day of May, 2016.

Respectfully Submitted
/s/
Donald O. Williams
D.O.C.# U13479
Florida State Prison
P.O. Box 800

Raiford, FL 32083
Case 5:16-cv-00357-WFJ-PRL Document8 Filed 06/30/16 Page 6 of 16 PagelD 70

APPENDIX
Document Exhibit
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Petitioner's Financial Record.........c.sseccssssssssssessescsessessecssesssosssuseesececesceecess, 3

CERTIFICATE OF AUTHENTICITY
I certify the document listed above are exact copies of the originals provided to
Petitioner.

CERTIFICATE OF SERVICE

11
I certify the appendix and exhibits were sent by U.S. Mail on June } , 2016 to this
Court's Clerk and Respondent at 444 Seabreeze Blvd., Fifth Floor, Daytona Beach,
Florida 32118.
OATH
I hereby declare the above statements are true and correct, under the penalty of
perjury.
1\ w
Executed on this 8 Day of June, 2016.
Sworn to by: /s/ Nand QO WA vasn
Donald O. Williams
D.O.C.# U13479
Florida State Prison

P.O. Box 800
Raiford, FL 32083
Case 5:16-cv-00357-WFJ-PRL Document8 Filed 06/30/16 Page 7 of 16 PageID 71

UNAUTHORIZED OATH

Under the penalties of perjury, I declare that I have read the foregoing motion and

the facts stated in it are true.

41
Executed this $ * day of June, 2016.

/s/ MS acl S USti
Donald O. Williams
D.O.C.# U13479
Florida State Prison
P.O. Box 800
Raiford, FL 32083
EXHIBIT

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Case 5:16-cv-00357-WFJ-PRL

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Fifth District Court of Appeal

STATE OF FLORIDA

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Page 9 of 16 PagelD’73

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Page 10 of 16 PageID 74

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‘Case 5:16-cv-00357-WFJ-PRL

IN THE CIRCUIT COURT OF THE FIFT H JUDICIAL CIRCUIT,
IN AND FOR LAKE COUNTY, FLORIDA

STATE OF FLORIDA CASE NO. 2000-CF-2130 _ =
ern &
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DONALD O. WILLIAMS, 2317 mn;
Defendant Ba b>:
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ORDER AUTHORIZING PRO SE POST MOTIONS FOR POST CONVICTION RELIEF
THIS CAUSE came before the Court on the Defendant’s request, dated March 13, 201 5, to

file pro se motions for post conviction relief and the Court, having considered the Defendant’s
request, ORDERS AND ADJUDGES that the Defendant is authorized to file good faith pro se

motions for post conviction relief in this case.
oy ie Hh
Florida, this 25 day of March, 2015,

DONE AND ORDERED in Tavares, Lake County,

Ng a)

MARK A. ‘NACKE,
CIRCUIT JUDGE

Copies to: £8 Ble IS”

Donald O. Williams U13479

Florida State Prison
7819 N, W. 228" Street
Raiford, Florida 32026

State Attorney’s Office
Tavares, Florida

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Case 4:16-cv-00357-WFJ-PRL

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Case 5:16-cv-00357-WFJ-PRL

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FLORIDA DEPARTMENT OF CORRECTIONS
TRUST FUND ACCOUNT STATEMENT

FACILITY: 205 -

FOR: 04/01/2016 - 04/30/2016

ACCT#: U13479

TYPE: INMATE TRUST
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